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                      UNITED STATES COURT OF APPEALS
                                 FOR THE
                              SECOND CIRCUIT

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
2nd day of May, two thousand twenty-five.

Before:     Maria Araújo Kahn,
                   Circuit Judge.
________________________________

 Mohsen Mahdawi,
                                                   ORDER
              Petitioner - Appellee,
                                                   Docket No. 25-1113
   v.

 Donald J. Trump, in his official capacity as
 President of the United States, Patricia Hyde,
 in her official capacity as Acting Boston Field
 Office Director, Immigration and Customs
 Enforcement, Enforcement and Removal
 Operations, J Doe, in official capacity as
 Vermont Sub-Office Director of Immigration
 and Customs Enforcement, Enforcement and
 Removal Operations, Todd Lyons, in his
 official capacity as Acting Director, U.S.
 Immigration and Customs Enforcement, Kristi
 Noem, in her official capacity as Secretary of
 The United States Department of Homeland
 Security, Marco A. Rubio, in his official
 capacity as Secretary of State, Pamela Bondi,
 in her official capacity as U.S. Attorney
 General,

           Respondents - Appellants.
 ________________________________

        Respondents-Appellants move for an emergency stay of the district court’s April 30,
2025 order pending appeal. Appellants further move to consolidate this appeal with Ozturk v.
Trump, 25-1019 because “these cases present similar fundamental legal questions and
exigencies.” Appellants also request that the merits of the emergency stay be argued on May 6,
2025, the date set for argument of a stay pending appeal motion in Ozturk.
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        IT IS HEREBY ORDERED that the motion for a stay pending appeal is REFERRED to
the three-judge motions panel hearing the Ozturk motion sitting Tuesday, May 6, 2025. An
administrative stay pending hearing of the stay motion is DENIED in light of the expedited
schedule set for hearing the merits of the stay motion. The motion to consolidate is REFERRED
to the May 6, 2025 motions panel.
       Petitioner’s opposition papers are due Monday, May 5, 2025 at 9:00 a.m. Reply papers
are due Monday, May 5, 2025 at 5:00 p.m. Each side is allotted ten minutes of argument time.



                                                   For the Court:

                                                   Catherine O’Hagan Wolfe,
                                                   Clerk of Court
